           Case 1:07-cv-00316-OWW-GSA Document 71 Filed 10/16/08 Page 1 of 2


 1
 2
 3
 4
 5
 6
                            UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
     KIMBERLY BARSAMIAN,                            )   1:07-cv-00316 OWW GSA
 9                                                  )
                                                    )
10                                                  )   ORDER REGARDING STATUS
                            Plaintiff,              )   CONFERENCE AND EXTENSION OF
11                                                  )   DISCOVERY DEADLINES
            v.                                      )
12                                                  )
     CITY OF KINGSBURG, MARTIN SOLIS, )
13   individually and in his official capacity as a )
     Police Officer for the City of Kingsburg       )
14   Police Department, and DOES 1 through          )
     100 inclusive,                                 )
15                                                  )
                            Defendants.             )
16                                                  )
17
            On October 10, 2008, the Court held a further status conference in this matter to address
18
     issues of discovery. Based on arguments presented, the Court hereby EXTENDS the following
19
     discovery deadlines:
20
            1.      The Discovery Cut-Off date is extended from November 1, 2008, to December 1,
21
                    2008;
22
            2.      The deadline for filing Non-Dispositive Pre-Trial Motions, including discovery
23
                    motions, is extended from November 5, 2008, to December 5, 2008. The Court
24
                    will set a hearing date for such motions, if any, and the current hearing date of
25
                    December 12, 2008 is vacated. Non-dispositive motions are heard on Fridays at
26
                    9:30 a.m. before the Honorable Gary S. Austin, United States Magistrate Judge, in
27
                    Courtroom 10. Counsel must comply with Local Rule 37-251 with respect to
28

                                                        1
           Case 1:07-cv-00316-OWW-GSA Document 71 Filed 10/16/08 Page 2 of 2


 1                  discovery disputes or the motion will be denied without prejudice and
 2                  dropped from calendar.
 3          3.      The deadline for filing Dispositive Pre-Trial Motions is extended from December
 4                  1, 2008, to December 15, 2008. In scheduling such motions, the parties shall
 5                  comply with Local Rules 78-230 and 56-260, and the current hearing date of
 6                  January 5, 2009 is vacated.
 7          In addition to the foregoing, the parties are directed to contact the Court should they
 8   desire a settlement conference in this matter.
 9
10
11
12
13
14
15
16
17
           IT IS SO ORDERED.
18
         Dated:      October 14, 2008                        /s/ Gary S. Austin
19   6i0kij                                           UNITED STATES MAGISTRATE JUDGE
20
21
22
23
24
25
26
27
28

                                                      2
